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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DIVISION OF KENTUCKY
                  NORTHERN DIVISION AT COVINGTON

    ANTHONY J. ALLEN,                       :
              Plaintiff                     :
                                            :   Case No. 2:12cv
                                            :
                                            :   Judge 
                                            :
    vs.                                     :   Magistrate Judge 
                                            :
    TRIDENT ASSET                           :
    MANAGEMENT, LLC                         :
    5755 NorthPoint Parkway                 :
                                            :
    Suite 12
                                            :
    Alpharetta, Ga. 30022
             Defendant



    Complaint Seeking to Impose Individual Liability Under the Fair Debt
   Collection Practices Act (15 U.S.C.§1692); Statutory & Actual Damages for
   Deceptive, Unfair, Unconscionable & Abusive Debt Collection Practices
                         Attorney Fees & Jury Demand



                                  Claim One
                          [FDCPA‐unfair debt collection]

                                     Jurisdiction

      1.  This claim is brought pursuant to the Fair Debt Collection Practices Act,

15 U.S.C.§1692, et seq. [hereinafter referred to as the “Act”].
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      2.  This claim is for both statutory and actual damages brought by Plaintiff

for Defendant’s violations of the Act, which expressly prohibits a debt collector

from engaging in unconscionable, deceptive, unfair and abusive debt collection

practices.

      3.  The jurisdiction of this Court is invoked pursuant to 15 U.S.C. 1692k(d),

28 U.S.C. § 1337. Venue is proper in view of the fact that the majority or all of the

events alleged herein took place in Eastern District of Kentucky and within the

Covington Division.



                                       Parties

      4.  Plaintiff, Anthony J. Allen, [hereinafter referred to as “Allen” or 

“Plaintiff”] is, and was at all times relevant herein, a “consumer” as defined in

the Act, 15 U.S.C. §1692a(3) and who, at all times referenced herein, was and is a

resident of Kenton County, Ky.

      5. Defendant, Trident Asset Management, LLC, [hereinafter “Trident” or

“defendant”] is a foreign limited liability corporation which has its principal

place of business at 5755 NorthPoint Parkway, Suite 12, Alpharetta, Ga. 30022 

but which operates and transacts business throughout the Commonwealth and

other jurisdictions and which specializes in the collection of consumer debt and,

therefore, is a “debt collector”, as defined in the Act at 15 U.S.C. §1692a.(6). 




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      6. Defendant regularly engages in and transacts business through the use

of the United States mails, telephone or other instrumentality of interstate

commerce and is subject to the jurisdiction of this Court.

      7. The debt in question which is disputed by the plaintiff,  if owed,

was  incurred primarily for family, household or personal use [hereinafter

referred to as the “debt”].



                                Factual Allegations

      8.  In either January or early February, 2004 Plaintiff responded to a

promotion and trial offer from  Columbia House to purchase dvds. Plaintiff

could purchase a number of dvds at an extremely low price and, if satisfied,

would become a member and be eligible to purchase additional dvds at a

reduced price. If not satisfied, Plaintiff could cancel without further obligation.

Plaintiff decided to cancel.

      9. In spite of the cancellation Columbia House, for some unexplained

reason, refused to acknowledge the cancellation and assessed the Plaintiff the full

price of the dvds which was $66.

      10. Sometime between 2010‐ 2011 Plaintiff discovered this fact when he

obtained his Experian Credit Report and noted that this debt was reported

therein by Defendant as a  “collection account” “past due”.

      11. Plaintiff disputed the debt through Experian yet Defendant refused to

delete or cease reporting the account with the derogatory information but

continued to report only that Plaintiff disputed the debt.

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      12. Defendant, most recently as May, 2012,  is reporting the account as

being “opened” in “3/2010ʺ when, in fact, it was never opened. However, if it

was, it could not have been opened any later than 2004 (8 ½ years ago).

      13. While Plaintiff currently disputes that he is or was ever liable on the

account, if it is delinquent and past due as is alleged and reported by the

Defendant, it became delinquent in 8 ½ years ago.

      14. The Fair Credit Reporting Act [FCRA] prohibits the reporting of any

delinquent consumer account more than 7 years from the date of the

delinquency.

      15. Defendant, by falsely reporting the date of when the account was

opened, was attempting to circumvent the 7 year reporting prohibition of the

FCRA and, essentially, engaged in the “re‐aging” of the account.

      16. Defendant is currently reporting the account unlawfully and in

violation of the Fair Credit Reporting Act and, consequently, also in violation of

the Fair Debt Collection Practices Act [FDCPA].



                                   Legal Allegations

                                       [FDCPA]

      17. Plaintiff hereby incorporates each and every allegation of paragraphs 1‐

15 as if fully rewritten herein.




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      18. Without limiting the scope of any violations which may have been

committed by the Defendant, it violated the Fair Debt Collection Practices Act by

engaging in the following unfair, deceptive or unconscionable debt collection

practices:


      (a) by communicating credit information which is known or which should
      be known to be false in violation of 15 U.S.C. §1692e(8);

      (b) by falsely representing the character, amount or legal status of a debt 
      or the compensation which may be recovered in connection with the
      collection of a debt in violation of 15 U.S.C. §1692e.(2); 
      (c) by threatening to take any action that cannot legally be taken or that is
      not intended to be taken in violation of 15 U.S.C. §1692e.(5); and,
      (d) generally using a false representation or deceptive means to collect a
      debt in violation of 15 U.S.C. §1692e.(10);


      19. As such plaintiff is entitled to both statutory and actual damages.




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                                   Prayer for Relief


      Plaintiff prays for the following relief:


      (A) in claim one plaintiff prays for a judgment against defendant for
      statutory damages in an amount he is able to prove;
      (B) in claim one plaintiff prays for a judgment against defendant for all
      actual damages which he may be able to prove for loss of sleep, appetite,
      self esteem and self worth and any additional pecuniary loss he may have
      suffered;
      (C) in claim one for reimbursement of or payment for reasonable attorney
      fees incurred by counsel for the plaintiff in connection with the successful
      prosecution of her claim;
      (D) in claim one for reimbursement for all costs and expenses incurred in
      connection with the successful prosecution of this claim;
      (E) in all claims for a trial by jury on all appropriate issues; and, 

           (F) for any and all other relief this Court may deem appropriate
                          
                                                   Respectfully submitted by:

                                               /s/Steven C. Shane                                 
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                                               Trial Attorney for Plaintiff
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